                             IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF OREGON

       In re                                               Case No. 18-31644-pcm11

       Sunshine Dairy Foods Management, LLC                NOTICE OF HEARING

                Debtor-in-Possession.

      YOU ARE NOTIFIED THAT A HEARING at which testimony will not be received, WILL BE HELD
      AS FOLLOWS:

          1. Motion for Authority to Pay Prepetition Payroll, Payroll Taxes and Workers' Compensation
             Premiums; Pay Claims Related to Employee Benefit Plan; and Continuing Use of Payroll
             Service (Dkt. No. 12);

               WILL BE HELD ON Monday, May 14, 2018 AT 10:00 am in Courtroom No. #1,
               U.S. Bankruptcy Court, 1001 SW Fifth Avenue, Suite 700, Portland, Oregon.

             OUT OF TOWN parties wishing to appear at the hearing by telephone may call the Toll Free
      Call In No. (888) 684-8852; Access Code: 1238244. See attached Court's LBF 888 (Telephone
      Hearing Requirements). Each participant must comply with each hearing requirement listed on LBF
      888. [Note: If you have problems connecting, call the court at (503) 326-1500.

            A copy of the Motion for Authority to Pay Prepetition Payroll, Payroll Taxes and Workers'
      Compensation Premiums; Pay Claims Related to Employee Benefit Plan; and Continuing Use of
      Payroll Service (Dkt. No. 12) was served upon you by first class mail on May 10, 2018 with this
      Notice.

             On May 10, 2018 copies of this Notice were served pursuant to FRBP 7004 on the debtor(s);
      any debtor's attorney; the U.S. Trustee; members of any committee elected pursuant to 11 U.S.C.
      §705; any Creditors' Committee Chairperson [or, if none serving, on all creditors listed on the list
      filed pursuant to FRBP 1007(d)]; and any Creditors' Committee attorney.

               SEE ATTACHED LIST. (The original Service List is attached to the original copy
               filed with the Court only. Creditors may request a copy of the Service List by
               contacting the undersigned at 503-241-4869.)

                                                  VANDEN BOS & CHAPMAN, LLP


                                                  By:/s/Douglas R. Ricks
                                                    Douglas R. Ricks, OSB #044026
                                                    Of Attorneys for Debtor-in-Possession




Page 1 of 1     NOTICE OF HEARING                                                      VANDEN BOS & CHAPMAN, LLP
                                                                                                  Attorneys at Law
                                                                                         319 SW Washington Street, Suite 520
                                                                                            Portland, Oregon 97204-2690
                                                                                                   (503) 241-4869

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                        TELEPHONE HEARING REQUIREMENTS

1.    You must call in and connect to the telephone hearing line or personally appear in the
      judge’s courtroom no later than your scheduled hearing time. The court will not call
      you.

2.    You may be asked to call again from another phone if your connection is weak or
      creates static or disruptive noise.

3.    Please mute your phone when you are not speaking. If you do not have a mute
      function on your phone, press *6 to mute and *6 again to unmute if you need to speak.
      Do not put the court on hold if it will result in music or other noise. If available, set the
      phone to "Do Not Disturb" so it will not ring during the hearing.

4.    When it is time for you to speak, take your phone off the “speaker” option or headset
      to minimize background noise and improve sound quality. Position the telephone to
      minimize paper rustling. Do not use a keyboard or talk with others in the room. Be
      aware that telephone hearings may be amplified throughout the courtroom.

5.    Do not announce your presence until the court calls your case. Simply stay on the line,
      even if there is only silence, until the judge starts the hearings, and then continue to
      listen quietly until your case is called.

6.    Whenever speaking, first identify yourself. When the court calls your case, it’s helpful
      if the moving party speaks first to avoid multiple parties speaking at the same time.

7.    Be on time. The judge may handle late calls the same as a late appearance in the
      courtroom.


                                                                  Clerk, U.S. Bankruptcy Court




888 (12/1/13)


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In re Sunshine Dairy Foods Management, LLC;
Bankruptcy Case No. 18-31644-pcw11
Service List


Debtor:                                  First Business Capital Corp.     Stiebrs Farms, Inc.
                                         Attn: Mark Buchert, VP-          c/o Dianna Stiebrs
Sunshine Dairy Foods Management, LLC     Account Executive                PO Box 598
Attn: Norman Davidson, III               401 Charmany Dr                  Yelm, WA 98597
801 NE 21st Ave.                         Madison, WI 53719
Portland, OR 97232                                                        Tetra Pak
                                         Grupo Phoenix                    c/o Bill Ballew
20 Largest Unsecured Creditors:          c/o Karen Alvarado               DEPT CH 10803
                                         18851 NE 29th Ave, Suite 601     Chicago, IL 60055-0803
Andersen Plastics                        Aventura, FL 33180
c/o Linda Erickson                                                        Valley Falls Farm, LLC
PO Box 310                               High Desert Milk, Inc.           18555 SW Teton Ave
Battle Ground, WA 98604-0310             c/o Steven Tarbet                Tualatin, OR 97062
                                         1033 Idaho St
Bev Cap Management, LLC                  Burley, ID 83318                 Valley Falls Farm, LLC
c/o Michelle Cummings                                                     c/o Keystone-Pacific, LLC
120 W Virginia St Suite 200              Larsen's Creamery, Inc.          Kaye N. Barnes, RA
Mckinney, TX 75069                       c/o Melody Librande              9955 SW Potano St
                                         16940 SE 130th Avenue            Tualatin, OR 97060
Boon Chapman                             Clackamas, OR 97015
c/o Grabielle Rico
9401 Amberglen Blvd                      LTI, Inc.
Austin, TX 78729                         c/o Karen McKinnon
                                         PO Box 34206
Country Lane Dairy                       Seattle, WA 98124-1026
18555 SW Teton Ave
Tualatin, OR 97062                       Mayfield Farms, LLC
                                         18555 SW Teton Ave
Country Lane Dairy                       Tualatin, OR 97062
c/o Keystone-Pacific, LLC
Kaye N. Barnes, RA                       Mayfield Farms, LLC
9955 SW Potano St                        c/o Keystone-Pacific, LLC
Tualatin, OR 97060                       Kaye N. Barnes, RA
                                         9955 SW Potano St
Danisco USA, Inc                         Tualatin, OR 97060
c/o Daniel Usieto
PO Box 32020                             Pacific Foods Of Oregon, Inc.
New York, NY 10087-2020                  c/o Ginger Pielage
                                         19480 SW 97th Ave
Domino Foods, Inc.                       Tualatin, OR 97062
c/o Alessia Zalambani
PO Box 79066                             Portland Water Bureau
City of Industry, CA 91716-9066          Attn: Customer Svc -
                                         Bankruptcy
Ernest Packaging Solutions               PO Box 4216
c/o Monique Gonzales                     Portland, OR 97208
9255 NE Alderwood Rd.
Portland, OR 97220                       QCS Purchasing, LLC
                                         c/o Mary DeMarco
                                         PO Box 87618
                                         Chicago, IL 60680-0618




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